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                                            ATTORNEYS AT LAW




                                                                                                               UNITED STATES DISTRICT COURT
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                                                                                       NORTHERN DISTRICT OF CALIFORNIA, SAN FRANCISCO DIVISION
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                                                                         In re:                                                    Case No. 3:17-cv-00939-WHA
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                                                                         WAYMO LLC,                                                NOTICE OF APPEARANCE OF
                                                                    17                                                             DEBRA GRASSGREEN
                                                                                                       Plaintiff,
                                                                    18
                                                                                  v.
                                                                    19
                                                                         UBER TECHNOLOGIES, INC. AND
                                                                    20   OTTOMOTTO LLC,
                                                                    21                                 Defendants.
                                                                    22

                                                                    23            TO THE COURT, ALL PARTIES AND THEIR ATTORNEYS FOR RECORD:

                                                                    24            PLEASE TAKE NOTICE that Debra Grassgreen of Pachulski Stang Ziehl & Jones LLP,

                                                                    25   hereby appears as co-counsel for the Defendants, Uber Technologies, Inc. Copies of all pleadings

                                                                    26   and notices pertaining to this action not otherwise filed through the Court’s electronic filing system

                                                                    27   should be directed to:

                                                                    28


                                                                          DOCS_SF:104218.1 85647/001                                                   NOTICE OF APPEARANCE
                                                                             Case 3:17-cv-00939-WHA Document 2711 Filed 09/29/20 Page 2 of 2



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                                                                     6   Dated:    September 29, 2020         PACHULSKI STANG ZIEHL & JONES LLP

                                                                     7
                                                                                                              By   /s/ Debra I. Grassgreen
                                                                     8                                             Debra I. Grassgreen
                                                                     9                                             Attorneys for Uber Technologies, Inc.
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